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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


 IN RE: NATIONAL PRESCRIPTION                 §
 OPIATE LITIGATION                            §           CIVIL ACTION NO.
                                              §
 This document relates to:                    §               4:23-mc-00013
 Case No. 1:17-md-02804-DAP                   §



  NON-PARTY CITY OF FORT WORTH’S OBJECTIONS AND MOTION TO
  QUASH OR IN THE ALTERNATIVE LIMIT THE SCOPE OF SUBPOENAS


       The City of Fort Worth (“City”), a municipal corporation incorporated and existing

by and under the constitution and laws of the State of Texas, does hereby make these

objections and asks the Court to quash, or in the alternative, limit the scope of the non-

party subpoenas that were served on the City of Fort Worth Police Department and one of

its employees, Captain James Stockton, in his official capacity, pursuant to Fed. R. Civ. P.

45(d). In support of its motion, the City would show the Court the following:

                                   I. BACKGROUND

       On July 25, 2023, the Fort Worth Police Department, and Captain Stockton were

served with non-party subpoenas to testify at a deposition and produce documents via

remote means on August 18, 2023. See subpoenas attached as Exhibit “A.” In the

subpoena, Kroger Co., Kroger Limited Partnership I, and Kroger Limited Partnership II,

hereinafter, “the Defendants,” request that witnesses appear on August 18, 2023, at 10:00

a.m. The subpoenas are related to a lawsuit filed by Tarrant County, Texas against a number
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of pharmacies (including Kroger) in connection with the improper distribution, sale, or

diversion of Prescription Opioid medications. The subpoenas seek to depose City staff on

a myriad of broad topics including, but not limited to: “Suspicious Orders,” “Automated

Reports and Consolidated Ordering Systems (ARCOS) Data,” “Prescriber Report Cards,”

“Texas Prescription Monitoring Program (PMP),” and “the finances of the Fort Worth

Police Department.”

        Of note, the City is not a party to the lawsuit and its involvement with any law

enforcement efforts pertaining to prescription opioids is minimal. See affidavit of Captain

James Stockton attached as Exhibit “B.” Because of the City’s lack of involvement with

the matters at issue in the opioid litigation, compliance with these subpoenas would create

an undue burden to the subpoenaed employees and the City. Further, the topics to be

discussed are overly broad and contain matters that are not within the day-to-day law

enforcement efforts of the Fort Worth Police Department. See attached Exhibit “B.” The

City has attempted to confer with the issuing attorney concerning the matters raised in this

motion but has received no response to date. Consequently, the City timely files this motion

to quash, or in the alternative, motion to limit the scope of the subpoenas before the date

of requested compliance.

                             II. ARGUMENTS AND AUTHORITIES

        Federal Rule of Civil Procedure 26(b)(1) permits discovery “regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case.” To determine whether discovery is proportional to a case’s needs, courts


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analyze, among other factors, “the parties’ relative access to relevant information, . . . the

importance of the discovery in resolving the issues, and whether the burden or expense of

the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

        A subpoena served on a non-party under Federal Rule of Civil Procedure 45 is

subject to these same standards—“it must seek relevant information and be proportional to

the needs of the case.” Infinity Home Collection, 2018 WL 1733262, at *2 (D. Colo. April

10, 2018) (quoting Fed. R. Evid. 401). A court further “must” quash or modify a subpoena

that either “requires disclosure of privileged or other protected matter, if no exception or

waiver applies,” or “subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iii),

(iv). Indeed, a subpoena that is “overbroad, irrelevant, unnecessary, and . . . a fishing

expedition,” served not for purposes of the litigation for which it is served but for another

purpose, is an abuse of Rule 45. Gen. Steel Domestic Sales, LLC v. Chumley, No. 13-cv-

00769-MSK-KMT, 2014 WL 3057496, at *1 (D. Colo. July 7, 2014).

A. The Subpoenas Pose an Undue Burden

        The City does not readily have the information or access to the information

requested in the deposition topics sought to be discussed by Defendants. According to

Captain Stockton:

        Fort Worth PD does not have primary regulatory or enforcement
        responsibility in relating to prescription opiates, pharmacies, and medical
        dispensation of such. Responsibility for this is the domain of the DEA Illegal
        Diversion division, the FDA, and the State Boards of Medicine, Pharmacy,
        and Nursing respectively. Our focus is largely upon illegal street drugs and
        illegal substances such as Methamphetamine, Cocaine, Heroin,
        MDMA/Ecstasy, Fentanyl, and marijuana.


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He further states:

        In my nearly 32 years of law enforcement service, I can only personally recall
        three instances which involved warrant/arrest service related to pharmacists,
        pharmacies, or doctors, and in each of those cases the DEA was the lead
        agency and our officers were there only for security and uniformed presence.
        Since we do not have responsibility for such regulation or enforcement, we
        do not generate Suspicious Order Reports, nor do we use the Automated
        Reports and Consolidated Ordering System (ARCOS) or participate in the
        TX Prescription Monitoring Program as referenced in the subpoena.
        Accordingly, we do not compile or have such data and statistics relating to
        these aspects. Any such information relating to such illegal diversion of
        Prescription Opioids or related practices would be referred to one of the
        aforementioned agencies for follow-up investigation. See Exhibit “B.”


        In order for the City to obtain the information being sought by Defendants it would

need to request such information from DEA (Drug Enforcement Agency) Illegal Diversion

Division, the FDA Food and Drug Administration), and the State Boards of Medicine,

Pharmacy, and Nursing. Such a request is an undue burden. Particularly, when such

information is available to the Defendants, through subpoenas or public information

requests submitted to those entities. To determine whether discovery is proportional to a

case’s needs, courts analyze, among other factors, “the parties’ relative access to relevant

information, . . . the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P.

26(b)(1). (Emphasis added).




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        Based on the foregoing the City moves to quash the non-party subpoenas served on

the City and Captain Stockton for the deposition testimony and records related the opioid

litigation pending in Ohio. Alternatively, the subpoenas could be modified to limit the

witness testimony to the relevant law enforcement activities performed by Captain

Stockton and the Fort Worth Police Department and associated relevant documents within

its possession, custody, or control, to the extent they exist.

B. Not Relevant and Overbroad

        The subpoenas also request deposition testimony related to the “finances of the Fort

Worth Police Department.” The subpoenas at issue relate to the improper distribution, sale,

or diversion of Prescription Opioid medications. The lawsuit does not involve the City of

Fort Worth, as it is not a party. As such, there is no relevant reason that the City’s finances

are at issue in the underlying litigation. In addition to the foregoing, many topics and

documents covered by the subpoenas are overly broad and vague. A subpoena that is

“overbroad, irrelevant, unnecessary, and . . . a fishing expedition,” served not for

purposes of the litigation for which it is served but for another purpose, is an abuse of Rule

45. Gen. Steel Domestic Sales, LLC v. Chumley, No. 13-cv-00769-MSK-KMT, 2014 WL

3057496, at *1 (D. Colo. July 7, 2014). (Emphasis added).

                                            III. CONCLUSION

        The Court should sustain the City’s objections and quash the subpoenas and Captain

Stockton. In the alternative, if the subpoenas are not quashed in their entirety, the City




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requests they be modified to limit the topics and records to maters within the relevant law

enforcement activities of the Fort Worth Police Department.

                                                        Respectfully submitted,

                                                         /s/ Benjamin J. Sampract
                                                         Benjamin J. Sampract
                                                         Senior Assistant City Attorney
                                                         State Bar No. 24053460
                                                         benjamin.sampract@fortworthtexas.gov

                                                         Destiney-Ariel N. Hicks
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                                                         State Bar No. 24104031
                                                         destineyariel.hicks@fortworthtexas.gov

                                                         Keanan Matthews-Hall
                                                         Assistant City Attorney
                                                         State Bar No. 24060238
                                                         keanan.hall@fortworthtexas.gov

                                                         CITY OF FORT WORTH
                                                         Office of the City Attorney
                                                         200 Texas Street
                                                         Fort Worth, Texas 76102-6311
                                                         P: 817.392.7600
                                                         F: 817.392.8359

                                                         Attorneys for the City of Fort Worth

                                CERTIFICATE OF CONFERENCE

       This is to certify that a conference was attempted by counsel, Destiney-Ariel N.
Hicks on August 9, 2023 and by counsel, Benjamin Sampract and Keanan Matthews-Hall,
on August 15, 2023. No response was received. A reasonable effort has been made to
resolve the dispute without the necessity of Court intervention and the effort failed.
Therefore, it is presented to the Court for determination.

                                                                /s/ Benjamin J. Sampract
                                                                Benjamin J. Sampract


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                                    CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing document
was, on this 16th day of August, 2023, served on counsel, in accordance with the Federal
Rules of Civil Procedure.

 Jennifer B. Hagedorn
 Ronda L. Harvey
 Fazal A. Shere
 Ashley H. Odell
 rharvey@bowlesrice.com
 fshere@bowlesrice.com
 ahardestyodell@bowlesrice.com
 jhagedorn@bowlesrice.com

 Counsel for Defendants The Kroger Co.,
 Kroger Limited Partnership I, and Kroger
 Limited Partnership II

                                                                /s/ Benjamin J. Sampract
                                                                Benjamin J. Sampract




City of Fort Objections and Motion to Quash or in the Alternative Motion to Limit the
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                                                                                    of 47
                                                                                        QuarrierPageID
                                                                                                 Street 8
                                                                                      Charleston , WV 25301


Bowles Rice                                                                           101 South Queen Street
                                                                                      Martinsburg, WV 25401
        Attorneys at Law
                                                                                      125 Granville Square, Suite 400     A
                                                                                      Morgantown, WV 26501
Southpointe Town Center                                                               501 Avery Street
1800 Main Street, Suite 200, Canonsburg, PA 15317                                     Parkersburg, WV 26101
724 .514.8915
                                                                                      480 West Jubal Early Drive, Suite 130
                                                                                      Winchester, VA 22601

Jennifer B. Hagedorn
jhagedorn@bowlesrice.com
T 724.514.8940
F 724.514.8954                                                                        bowlesrice.corn


                                                    July 21, 2023
HAND DELIVERY

Captain James Stockton
Fort Worth Police Department
Bob Bolen Public Safety Complex
505 West Felix Street
Fort Worth, TX 76115

         Re:       In re National Prescription Opiate Litigation, No. 17-md-02804 (United States
                   District Court for the Northern District of Ohio)

Dear Captain Stockton:

         We represent Kroger entities in a case brought by Tarrant County, Texas against retail
pharmacy chains related to the dispensing of prescription opioids. The case is pending in the federal
district court in Cleveland, Ohio.

        Enclosed please find a subpoena for your deposition testimony. We are mindful that there are
many demands on your time. However, the allegations made against our clients by the County require
us to take your deposition. The deposition would take place remotely.

        We have some flexibility to move the date of the deposition to accommodate your schedule,
ifthere are other dates that work for you and for other parties in this case. However, please note that
we are required by comi order to complete discovery by August 28, 2023. Please reach out at any
time by either email to Grayson O'Saile (gosaile@bowlesrice.com) or phone at 304-347-1780 and
we can discuss how best to proceed. If you have engaged an attorney, please have your attorney
contact us. Thank you for your attention to this matter.


                                                                Sincerely,
                                                                / s / J ~ (3. H0-.8e.olo-vw
                                                                Jennifer B. Hagedorn

 JBH:kkh
 Enclosures
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE PRESCRIPTION
OPIATE LITIGATION                              MDL No. 2804

This document relates to:                       Case No. 17-md-2804
Case No. 1: 18-op-45274-DAP
                                               Judge Dan Aaron Polster
TARRANT COUNTY, TX,

                              Plaintiff,

        vs.

PURDUE PHARMA, et al.,

                              Defendants.

Track 9


                      NOTICE OF INTENT TO SERVE SUBPOENA


       Pursuant to the applicable Federal Rules of Civil Procedure, the Court's local rnles, this

Court's Case Management Orders, and any other applicable law or rule, the Defendants, The

Kroger Co., Kroger Limited Partnership I, and Kroger Limited Partnership II, and Kroger Texas

LP in Track 9 will serve a subpoena commanding the production of documents and testimony on

the Captain James Stockton of the Fort Worth Police Department.

       Please find attached a copy of the subpoenas for the production of documents and

testimony.
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Date: July21 , 2023                        Respectfully submitted,

                                           Isl Jennifer B. Hagedorn
                                           Ronda L. Harvey Esq. (WVSB 6326)
                                           Fazal A. Shere, Esq. (WVSB 5433)
                                           Ashley H. Odell, Esq. (WVSB 9380)
                                           Je1mifer B. Hagedorn, Esq. (WVSB 315543)
                                           BOWLES RICE LLP
                                           600 Quarrier Street
                                           Charleston, West Virginia 25301
                                           304-347-1100
                                           rharvey@bowlesrice.com
                                           fshere@bowlesrice.com
                                           ahardestyodell @bowlesrice.com
                                            jhagedorn@bowlesrice.com

                                            Counsel for Defendants The Kroger Co.,
                                            Kroger Limited Partnership I, and
                                            Kroger Limited Partnership II


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of July, 2023, a true and conect copy of the

foregoing was served via email on the following:

       mdl2804discovery@motleyrice.com

       tracks6to 1Odefendants@bbhps.com

                                                       Isl    Jennifer B. Hagedorn
                                                       Jennifer B. Hagedorn (WVSB #315543)

                                                       Counsel for Defendants The Kroger Co. ,
                                                       Kroger Limited Partnership I, and
                                                       Kroger Limited Partnership II




                                                   2
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'AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action
                                                                                                   Page 11 of 47 PageID 11

                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                               Northern District of Ohio

              In re Prescription Opiate Litigation                              )
                                Plaintiff                                       )
                                   V.                                           )      Civil Action No.      1:17-md-02804-DAP
                                                                                )
                                                                                )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                       Captain James Stockton, Fort Worth Police Department
                                Bob Bolen Public Safety Complex, 505 West Felix Street, Fort Worth, TX 76115
                                                         (Name ofperson to whom this subpoena is directed)

       ifTestimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
 party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
 or more officers, directors, or managing agents, or designate other persons who consent to testify on yow- behalf about
 these matters: See Schedule "A"

  Place:                                                                                Date and Time:
             Remote Deposition via Veritext Legal Solutions                                               0811812023 10:00 am

            The deposition will be recorded by this method: _S_te_n_o_g_ra_p_h_a_n_d_V_id_e_o_ta_p_e_ _ _ _ _ _ _ _ _ _ _ __

        if Production: You, or your representatives, must also bring with you to the deposition the following docwnents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: See Schedule "B"




         The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:         0712112023
                                     CLERK OF COURT
                                                                                           OR
                                                                                                             Isl Jennifer B. Hagedorn
                                             Signature of Clerk or Deputy Clerk                                 Attomey 's signature

  The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) The Kroger Co., Kr-
  oger Limited Partnership I, Kroger Limited Partnership 11, Kroger TX LP , who issues or requests this subpoena, are:
Jennifer B. Hagedorn, Bowles Rice LLP, 600 Quarrier Street, Charleston, WV 25301; 724-514-8940;
j hag es em@bewlesrise .sen:1
                                  Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things before
  trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
  whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-mc-00013-P Document 1 Filed 08/16/23
'AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)
                                                                                                  Page 12 of 47 PageID 12

Civil Action No. 1: 17-md-02804-DAP

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (11a111e ~[individual and title, if an.J~
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                      on (date)                         ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

 My fees are$                                       for travel and $                      for services, for a total of$        0.00



            I declare under penalty of perjury that this information is true.


 Date:
                                                                                              Se111er's signature



                                                                                            Printed 11a111e and title




                                                                                               Server's address

 Additional information regarding attempted service, etc.:
               Case 4:23-mc-00013-P Document 1 Filed 08/16/23                                               Page 13 of 47 PageID 13
AO 88A (Rev. 12/20) Subpoena to Testify al a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial infonnation; or
  (1) For n Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert' s opinion or infonnation that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specijj1i11g Co11difions as m, Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party's officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discol'ery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Prod11ci11g Documents or Electronically Stored lnfor111ntio11. These
   (B) inspection of premises at the premises to be inspected .                    procedures apply to producing documents or electronically stored
                                                                                   infonnation:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinaiy course of business or
 (1) A1•oiding Undue Burden or Expense; Sanctions. A patty or attorney             must organize and label them to c011"espond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Produci11g Electro11ically Stored !11Jor111atio11 Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction- which may include            which it is ordinarily maintained or in a reasonably usable form or fonns.
lost earnings and reasonable attorney's fees--on a party or attorney who              (C) Electro11ically Stored biformation Produced i11 OnZF One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   infonnation in more than one fom1.
 (2) Co111111n11d to Produce 111aterials or Permit Inspection.                        (D) Inaccessible Electronically Stored Information. The person
   (A) Appeara11ce Not Required. A person conunanded to produce                    responding need not provide discovery of electronically stored infomrntion
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also conunanded to appear for a deposition,        order, the person responding must show that the infomrntion is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discove1y from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises--or to
producing electronically stored information in the form or forms requested.         (2) Claiming Pril'ifege or Protection.
The objection must be served before the earlier of the time specified for            (A) b!for111atio11 Withheld. A person withholding subpoenaed information
compliance or 14 clays after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                          material must:
      (i) At any time, on notice to the conunanded person, the serving party            (i) expressly make the claim; and
may move the comt for the district where compliance is required for an                  (ii) describe the nature of the withheld documents, conmmnications, or
order compelling production or inspection.                                          tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party' s officer from        (B) !1!for111atio11 Produced. If infonnation produced in response to a
significant expense resulting from compliance.                                      subpoena is subject to a claim of privilege or of protection as
                                                                                    trial-preparation material, the person making the claim may notify any party
  (3) Quashing or Modifying n Subpoena.                                             that received the information of the clain1 and the basis for it. After being
                                                                                    notified, a pm1y must promptly return, sequester, or destroy the specified
   (A) Whe11 Required. On timely motion, the com1 for the district where            information and any copies it has; must not use or disclose the information
 compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                    information if the party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                               present the infonnation under seal to the comt for the district where
      (ii) requires a person to comply beyond the geographical limits               compliance is required for a detennination of the claim. The person who
 specified in Rule 45(c);                                                           produced the infonnation must preserve the infonnation until the claim is
      (iii) requires disclosure of privileged or other protected matter, if no      resolved.
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                       (g) Contempt.
   (B) Whe11 Permi!led. To protect a person subject to or affected by a             The court for the district where compliance is required- and also, after a
 subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing comt-may hold in contempt a person
 motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                    subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Conunittee Note (2013).
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                                           Schedule "A"

                                      Topics for Examination

           Captain James Stockton of the Fort Worth Police Department (FWPD)

The topics upon which the person or persons designated by You are asked to be prepared
to testify in accordance with Rule 30(b)(6) are:

1.     Your understanding of the meaning of the term "suspicious orders" in connection with
       orders for controlled substances.

2.     Your procedures, policies, and protocols regarding receipt, storage, maintenance,
       retention, organization, analysis, utilization, investigation, and handling of Suspicious
       Order Reports and its approach in investigating, sharing, or in any way responding to or
       using such Suspicious Order Reports.

3.     Any guidance issued by the Fort Worth Police Department (FWPD)regarding the reporting
       of suspicious orders, including memoranda, operating procedures, or other instructions.

4.      Your use of Automated Reports and Consolidated Ordering Systems (ARCOS) Data,
        Suspicious Order Rep01is, data from the Texas Prescription Monitoring Program (Texas
        PMP), in connection with Your efforts to address drug-related crimes, the diversion of
        Prescription Opioids, or the unlawful trafficking of Prescription or Illicit Opioids.

5.      Your understanding or investigation of the source of Illicit Opioids manufactured,
        Distributed, or consumed in the State of Texas.

6.      Your understanding or investigation of individuals and entities for unlawfully producing,
        transporting, diverting, using, purchasing, distributing, selling, or trafficking Prescription
        or Illicit Opioids within or into the State of Texas. Included in this topic are any
        communications, such as complaints or notifications, You received concerning actual or
        potential involvement of any person or entity in the improper distribution, sale, or diversion
        of Prescription Opioid medications.

7.      Your eff01is to combat the misuse, abuse, sale, diversion, production, transp01iation,
        distribution, purchase, and/or trafficking of Prescription or Illicit Opioids within or into the
        State of Texas.

8.      The identities of the pharmacists, pharmacy interns, doctors or other prescribers, patients,
        or other persons or entities that You have investigated for the diversion of Prescription
        Opioids within or in the State of Texas, and the identities of all persons or entities that You
        suspect of having engaged in such conduct.

9.      The identities of the individuals or entities You have investigated or disciplined for
        unlawfully producing, transporting, diverting, selling, or trafficking Prescription Opioids


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        and/or Illicit Opioids within or into the State of Texas, and the identities of all persons or
        entities that You suspect of having engaged in such conduct.

10.     Your efforts to combat the opioid epidemic and the diversion of Prescription Opioids
        including but not limited to the following:

         (a)   Your participation in any task force, organization, and/or committee with
               responsibilities relating to Prescription Opioids or Illicit Opioids in the state of
               Texas.

         (a)   Your effmis to investigate and track the illegal use, abuse, misuse, sale,
               purchase, trafficking, diversion, or distribution of Prescription or Illicit Opioids
               within the State of Texas.

         (b)    Your efforts to investigate individuals or entities located with.in the State of
                Texas, whose conduct regarding Prescription or Illicit Opioids You believe,
                suspect, or contend caused harm within the State of Texas.

         (c)    Any information or assistance, including but not limited to financial grants, You
                provided to the State of Texas to combat drug-related crime, respond to the opioid
                epidemic, or form a joint task force to combat the opioid epidemic.

         (d)    Your effo1is to facilitate intelligence sharing and promote coordinated strategies
                to combat the use, misuse, abuse, sale, diversion, production, transportation,
                distribution, purchase, and/or trafficking of Prescription or Illicit Opioids within or
                into the State of Texas.

         (e)    Your efforts to investigate, indict, charge, sanction, and/or discipline individual
                or entities for the unlawful use, abuse, misuse, sale, purchase, trafficking, diversion,
                or distribution of Illicit or Prescription Opioids within or into the State of Texas.

         (f)    Your efforts to develop and use Prescriber Report Cards.

11.      Your understanding of the therapeutic benefits of Prescription Opioid medications.

12.      Your understanding of what constitutes "diversion'" of Prescription Opioid medications,
         and the ways in which Prescription Opioid medications have been diverted in the State of
         Texas since 1996.

13.      The Texas Prescription Monitoring Program (PMP). Included in this topic is why the
         program was created; what purpose it serves; the data it contains; who requested or had
         requested access to information in the program; and the evolution of its capabiiities and
         utilization. Included in this topic is any analysis of data contained in the PMP and any
         actions taken in response to such analysis.




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14.      Your knowledge of the volume and details of prescriptions for Prescription Opioid
         medications dispensed in the State of Texas.

15.      The professional obligations of pharmacists and other persons regulated by the
         Fort Worth Police Department (FWPD) relating to the dispensing of Prescription Opioid
         medications, and Your efforts to enforce those obligations.

16.      Professional education, training programs, and guidelines relating to the prescribing and
         dispensing of Prescription Opioid medications and other contro11ed substances.

17.      The sharing, or lack of sharing, of Prescription Opioid distribution data (e.g., ARCOS or
         CSMP data) between the TSBP and the DEA, and how the TSBP used any data it
         received from DEA.

18.      The authority and role of the Fort Worth Police Department (FWPD) in enforcing the Texas
         Controlled Substances Act, the practice of pharmacy, and the federal Controlled
         Substances Act.

19.      The Arlington Police Department (APD)'s licensing responsibilities, including the
         licensing and licensing files of manufacturers, wholesale distributors, pharmacies,
         pharmacists, and pharmacy technicians.

20.      The structure and operation of the Fort Worth Police Department (FWPD).

21.      The finances of the Fmi Wmih Police Department (FWPD).

22.      Your Communications with the Mansfield Police Department (MPD), Fort W01ih Police
         Department (FWPD), Arlington Police Department (APD), Texas Employee Retirement
         System (ERS), Texas Depmiment oflnsurance (TDI) (Workers' Compensation Division),
         Texas Department of Family and Protective Services (DFPS), Texas A&M Opioid Task
         Force, Texas Drug Utilization Review Board (DURB), Texas Health and Human Services
         (HHS), Texas Department of State Health Services (DSHS), Texas State Board of
         Pharmacy (TSBP), Texas Medical Board, the Texas State Board of Dental Examiners, the
         Texas Board of Nursing, the National Association of Boards of Pharmacy, other state
         Boards of Pharmacy, the DEA, the Department of Justice, the FBI, other federal, state, and
         local law enforcement entities, regarding Suspicious Order Reports; the abuse, misuse,
         sale, purchase, trafficking, diversion, or distribution of Illicit or Prescription Opioids;
         eff01is to combat the opioid crisis; and/or Illicit Opioids.


23.      Your Communications with Defendants, including communications regarding actual or
         suspected diversion by pharmacists, pharmacy interns, doctors or other prescribers, or
         patients in Texas.

24.      Communications between You and any other local, state, or federal agency relating to
         Defendants.


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25.      Communications between You and any person or entity concerning any topic listed above
         (No. 1 through 24), including but not limited to all Communications regarding Illicit
         Opioids, Prescription Opioids, diversion, and the opioid epidemic.




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                                           Schedule "B"

                             Requests for Production of Documents

                                            Definitions

      Notwithstanding any definition set forth below, each word, term, or phrase used in these
Requests is intended to have the broadest meaning permitted under the Federal Rules of Civil
Procedure.

       1. "Abuse" means the nonmedical or otherwise unauthorized or harmful use or misuse of
any Opioid or controlled substance and includes addiction, overdose, death, and diversion to illicit
use.

       2. "All" shall be construed to include the collective as well as the singular and shall mean
"each," "any," and "every."

       3. "Any" shall be construed to mean "any and all."

       4. "Claim" means any request for payment or reimbursement, in full or in part.

         5. "Claims Data" means all information and data regarding the submission, processing,
status, adjudication, and reimbursement of a Claim, including claim number and extension, if any;
group number; plan type; member number; member date of birth, gender, and benefit status;
subscriber information; dates of injury, prescription, fill, claim submission, and bill; all diagnosis
code(s); drug name, code, generic name, class, and type; prior authorization information; quantity;
days supply; provider name, address, National Provider Information, Medical Education number,
Drug Enforcement Agency number; bill amount, insurance allowed amount, insurance plan paid
amount, copayment amount, coinsurance amount, deductible amount, other insurer paid amount,
other insurer name, total paid amount; fee schedule; Average Wholesale Price unit cost; payment
basis, pharmacy billed charge or Usual & Customary Charge, ingredient cost, dispensing fee, other
cost information; and patient name and address or, if Plaintiffs are unable to provide patient name,
information sufficient to associate all Claims filed regarding a particular individual across all
databases containing responsive information.

       6. "Communication(s)" means any disclosure, transfer, or exchange of information or
opinion, however made.

       7. "Defendants" means, collectively, the named defendants in this action, and their present
or former officers, directors, shareholders, employees, agents, representatives, counsel and all
persons and entities acting or purporting to act under their control or on their behalf.

        8. "Document(s)" has the full meaning ascribed to it Texas Rules of Civil Procedure, and
means the complete original (or complete copy where the original is unavailable) and each non-
identical copy (where different from the original because of notes made on the copy or otherwise)
of any writing or record, including, but not limited to, all written, typewritten, handwritten, printed,
or graphic matter of any kind or nature, however produced or reproduced, any form of collected
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data for use with electronic data processing equipment, and any mechanical or electronic visual or
sound recordings or text messages in the Board's possession, custody, or control. "Document(s)"
include, but are not limited to, books, papers, contracts, memoranda, invoices, correspondence,
notes, studies, reports, manuals, photographs, drawings, charts, graphs, data compilations,
databases, other writings, microfilm, microfiche, audio recordings, video recordings, electronic
mail, and any other information stored in electronic form, and each different version or copy of
each Document, including, but not limited to, drafts.

        9. "Electronically Stored Information" or "ESI" is used consistent with how the term is
defined and construed under Texas law and includes without limitation all electronic data
(including reasonably accessible active, archival, or backup data, such as backup tapes, distributed
data, electronic mail, forensic copies, metadata, and residual data) stored in a medium from which
information can be reasonably obtained.

        10. "Health Care Program(s)" means every program, department, facility, or Health Care
Provider controlled, administered, overseen, or paid for by the State of Texas, its agencies, sub-
agencies, offices, departments, divisions, subdivisions, boards, or commissions, or any other
Person or entity acting on their behalf, whether in full or in part, that (i) provides health care for
any Texas residents; (ii) provides health care for any employees, temporary employees, or
independent contractors of the State of Texas during the Relevant Time Period; (iii) provides
payment or reimbursement of any Claims, in full or in part; or (iv) reviews, authorizes, or
determines the conditions for payment or reimbursement, in full or in part, for any Opioid
prescribed, administered, or dispensed to a Patient.

        11. "Health Care Provider(s)" or "HCP(s)" means any healthcare professional, healthcare
or medical entity, or other Person or entities who provides medical assistance or healthcare services
to Patients or other individuals, including but not limited doctors, nurses, or physician's assistants,
or Persons who prescribe, administer, or dispense any Opioid or Medication Assisted Treatment
to Patients or other individuals.

        12. "Including" shall be construed to mean "including but not limited to."

       13. "Manufacturer" means any Person, organization, or corporate entity that manufactures
any Opioid.

       14. "Medication Assisted Treatment" means the use of medications with counseling and
behavioral therapies to treat substance Abuse disorders, including to prevent Opioid misuse,
Abuse, or overdose.

       15. "Opioid(s)" refers to FDA-approved pain-reducing medications consisting of natural
or synthetic chemicals that bind to opioid receptors in a patient's brain or body to produce an
analgesic effect.

       16. "Patient(s)" means any Person in the State of Texas or any Person covered by a Health
Care Program in Texas who receives medical treatment, and includes any Person to whom any
Opioid is prescribed, administered, or dispensed.


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       17. "Person(s)" means any natural or legal person.

       18. "Plaintiffs" mean the Plaintiffs, including all of their agencies, departments,
commissions, boards, officers, or other executive entities; any agent, employee, or representative;
and any other persons, agencies, or entities acting or purporting to act on their behalf or controlled
by them.

         19. "Program(s)" means every program, department, facility, or HCP that (i) provides
health care for Plaintiffs' residents; (ii) provides health care for any employee of the Plaintiffs
during the Relevant Time Period; (iii) provides payment or reimbursement of any claims, in full
or in part; or (iv) reviews, authorizes, or determines the conditions for payment or reimbursement,
in full or in paii, for any Opioid prescribed, administered, or dispensed to a Patient.

        20. "Relate to," "related to," "relates to," "relating to," and "concerning" mean referring
to, summarizing, reflecting, constituting, containing, concerning, embodying, mentioning,
discussing, describing, consisting of, comprising, showing, commenting on, tending to support or
tending to refute, or in any way logically or factually connected with the matter that is the subject
of the Request.

       21. "Subject Opioid(s)" refers to any of the following Opioids: OxyContin, MS Contin,
Dilaudid, Dilaudid HP, Butrans, Hysingla ER, Targinig ER, Tapentodol, Actiq, Fentora,
Duragesic, Nucynta, Nucynta ER, Opana, Opana ER, Percodan, Percocet, Zydone, Kadian, Norco,
any generic forms of the foregoing Opioids, oxycodone, oxymorphone, hydromorphone,
hydrocodone, and prescription fentanyl.

        22. "You" and "Your" mean the Person(s) or entity(s) to whom or to which this Subpoena
is directed as reflected on the first page, or subsections as applicable. These terms also shall include
all agencies, sub-agencies, offices, departments, divisions, subdivisions, boards, commissions,
officers, agents, employees, investigators, representatives, consultants, or other entities or Persons
within Your control, and any predecessor, successor, parent, subsidiary, division, or affiliate.

                                             Instructions

        1. Unless otherwise indicated, these Requests cover the time frame from January 1, 1990
to present.

       2. When providing your responses, please indicate the Request to which each document or
answer responds in the meta data field, Request No. If You believe that You already have
produced documents responsive to any of the Requests below, then please specify (by bates-
number) which documents are responsive to which specific Request.

        3. Documents shall be produced in accordance with and as they are kept in the usual course
of business.
        4. For each document that you produce, produce the current version together with all earlier
editions, versions or predecessor documents during the relevant time period, even though the title
of earlier documents may differ from current versions.


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       5. Requested format for documents produced electronically in response to this Request:

        a. Any documents produced in response to this Request should be provided as a Group 4
compression single-page "TIFF" image that reflects how the source document would have
appeared if printed out to a printer attached to a computer viewing the file. Extracted text will be
included in the manner provided herein. To the extent that extracted text does not exist, these
images will be processed through Optical Character Recognition ("OCR") so that they are fully
searchable. Extracted text and OCR should be provided in separate document level text files. "Load
files" shall be produced to accompany the images and shall facilitate the use of the litigation
suppo1i database systems to review the produced images.

        b. Document Unitization. Each page of a document shall be electronically conve1ied into
an image as described above. If a document is more than one page, the unitization of the document
and any attachments and/or affixed notes shall be maintained as it existed in the original when
creating the image file and appropriately designated in the load files. The corresponding
parent/attachment relationships, to the extent possible, shall be provided in the load files furnished
with each production.

        c. Bates Numbering. Each page of a produced document shall have a legible, unique page
identifier ("Bates Number") electronically branded onto the image at a location that does not
obliterate, conceal, or interfere with any information from the source document. In order to ensme
that the Bates Numbers do not obscure pmiions of the documents, the images may be
proportionally reduced to create a larger margin in which the Bates Number may be branded. There
shall be no other legend or stamp placed on the document image, except those sections of a
document that are redacted to eliminate material protected from disclosure by the attorney-client
or work product privileges shall have the legend "REDACTED" placed in the location where the
redaction(s) occurred or shall otherwise note the location and/or location of the information for
which such protections are claimed.

         d. File Naming Conventions. Each document image file shall be named with the unique
Bates Number of the page of the document in the case of single-page TIFFs, followed by the
extension "TIF." Each document shall be named with a unique document identifier. Attachments
shall have their own unique document identifiers. e. Production Media. The documents should be
produced on CD-ROM, DVD, or external hard drive (with standard Windows PC compatible
interface), (the "Production Media"). Each piece of Production Media shall identify a production
number corresponding to the production "wave" the documents on the Production Media are
associated with (e.g., "V00l," "V002"), as well as the volume of the material in that production
wave (e.g., "-001," "-002"). For example, if the first production wave comprises document images
on three hard drives, the Respondent shall label each hard drive in the following manner: "V00l-
00 l ," "VO0 1-002," "V00 1-003." Additional information that shall be identified on the physical
Production Media shall include: (1) text referencing that it was produced in [Case Docket No.],
(2) the producing paiiy's name, (3) the production date, and (4) the Bates Number range of the
materials contained on the Production Media. f. Objective Coding/Extracted Meta Data.
Respondent shall produce with each production of documents with extracted metadata for each
document (the "Objective Coding") included in the load file. The data file shall include the fields


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and type of content set forth in the SPECIAL INSTRUCTIONS FOR ELECTRONICALLY
STORED MATERIAL section. Objective Coding shall be labeled and produced on Production
Media in accordance with the provisions set forth above. g. Native format for Excel and databases.
To the extent that such documents exist in Excel or another spreadsheet program, produce the
document in its native format. To the extent that the document format constitutes a database created
or maintained in Access or another software program, produce the document in its native format.
If the database is based upon proprietary software, produce whatever keys and instructions are
necessary to review it. 6. Requested format for hard copies of documents produced in response to
this Request: a. create electronic copies of the documents and produce them in accordance with
the procedures described in section 5(a) herein, provided that you retain the originals from which
the electronic copies were made until the final disposition of the matter; b. include a loadfile with
corresponding information, including the following data fields: BegDoc, EndDoc, Custodian,
DocTitle, Filename, Request No.; c. the Custodian field in the loadfile should contain the name of
the custodian or location from which the hard copy document was taken; d. the Request No. field
should contain the number of the Requests to which the document is responsive.

       7. This Request requires you to produce all described documents in your possession,
custody or control without regard to the person or persons by whom or for whom the documents
were prepared (e.g., your employees, distributors or dealers, competitors or others).

       8. If any responsive document was, but no longer is, in your possession, custody or control,
produce a description of each such document. The description shall include the following:

        a. the name of each author, sender, creator, and initiator of such document;

        b. the name of each recipient, addressee, or party for whom such document was intended;

        c. the date the document was created;

        d. the date(s) the document was in use;

        e. the title of the document;

        f. a detailed description of the content of the document;
        g. the reason it is no longer in your possession, custody or control; and

        h. the document's present whereabouts and custodian thereof.

        9. In the event a document that is responsive to these Requests is not in your possession
but you have a right to obtain the document or a copy of the document from a third party, you must
obtain it (or a copy) and produce it in response to these Requests.
        10. If the document is no longer in existence, in addition to providing the information
indicated above, state on whose instructions the document was destroyed or otherwise disposed
of, and the date and manner of the disposal.




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        11. If you assert a privilege in responding to this Subpoena, state the type of privilege
asserted and the basis for its assertion. In addition, identify the Communication or Document with
respect to which the privilege is asserted. For any document to which a privilege is asserted, state:

      a. The type of document (e.g., letter, memorandum, contract, etc.), the date of the
document, and the subject matter of the same;

        b. The name, address, and position of the author of the document and of any person who
assisted in its preparation;

       c. The name, address, and position of each addressee or recipient of the document or any
copies of it;

       d. The present location of the document and the identity of the person having custody of it.

        12. The documents requested: (i) shall not contain any HIPAA-protected patient
information including patient names, social security numbers, addresses, birth dates, or other
identifying information; or, (ii) shall have HIPAA-protected patient identifying information
redacted by defendant. Should You consider any of the Documents requested to be confidential
such that they should not be generally disseminated to the public or released to the press, please
designate these documents as such under any operative Protective Order in this case.

        13. Should You determine that any of the Documents requested contain personal health
information that may not be disclosed pursuant to HIP AA or analogous state law, please redact
that information and assign in its place a unique identifier. Where there exists a good faith doubt
as to the scope of personal health information that should be redacted, You are asked and
encouraged to contact counsel for Defendants in advance of applying potentially overbroad
redactions or unnecessarily withholding responsive Documents.

         14. Produce documents in the order in which you maintained them in your files, in copies
of their original file folders, labeled with the folder's original file labels. Do not mask any portion
of any document; produce the entire document, including all attachments to such responsive
documents. Provide a key to all abbreviations used in documents and attach the key to the
appropriate documents.

        15. If you obtain information or documents responsive to any Request after you have
submitted your written Responses or production, you have an affirmative duty to supplement your
Responses and/or production with any new and/or different information and/or documents that
become available to you.
        16. Where there exists a good faith doubt as to the meaning or intended scope of a Request,
and Your sole objection would be to its vagueness or ambiguity, You are asked and encouraged to
contact counsel for Defendants in advance of asse1iing an unnecessary objection. The undersigned
counsel will provide additional clarification or explanation as may be needed.




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                        Special Instructions for Proprietary Databases

       Documents stored in proprietary databases should be produced in such a way that the data,
information, and functionality of the original database(s) is not lost.

                    Documents to be Produced Pursuant to this Subpoena

1.     All Communications between You and Plaintiffs discussing, refening, or relating to the
       prescribing, dispensing, use, misuse, abuse, sale, diversion, production, distribution, or
       trafficking of Prescription Opioids or Illicit Opioids within or into Tarrant County, Texas.

2.     All Documents discussing, referring, or relating to Your or Plaintiffs' efforts, including,
       but not limited to, any programs or task forces that You or Plaintiffs have developed to
       combat or address the unlawful prescribing, dispensing, use, misuse, abuse, sale, diversion,
       production, distribution, purchase, or trafficking of Prescription Opioids or Illicit Opioids
       within Tarrant County, Texas.

3.      All Documents relating to any law enforcement, child endangerment, child removal, or
        administrative investigations, prosecutions, and/or enforcement actions relating to
        Prescription or Illicit Opioids or Illicit Drugs in Tarrant County, Texas.

4.      All Documents discussing, referring, or relating to Your meeting minutes, including, but
        not limited to, committee and subcommittee meeting minutes, in which the prescribing,
        dispensing, use, misuse, abuse, sale, diversion, production, distribution, purchase, or
        trafficking of Prescription Opioids, Illicit Opioids, or Illicit Drugs within or into Tarrant
        County Texas or where Tarrant County, Texas or the State of Texas were discussed.

5.      All Documents constituting or related to any Communications between You, or anyone
        acting on Your behalf, and any federal, state, or local official or agency (including, but not
        limited to, the DEA, the Federal Bureau of Investigation, a United States Attorney or
        representative thereof, any other department within the Texas Health and Human Services
        or its constituent providers, the Texas Department of Public Safety, the Texas Board of
        Pharmacy, the Texas Medical Board, the Texas Board of Dentistry, the California Board
        of Examiners for Licensed Practical Nurses, the Texas Board of Nursing, other cities,
        counties or agencies of the State of Texas, or any city, county, or agency of any other State),
        insurer, third-party payer, or pharmacy benefit manager that refer or relate to improper
        prescribing, unlawful sale, or other suspected wrongdoing related to Prescription Opioids,
        Illicit Opioids, or Illicit Drugs, or the possession, abuse, illegal sale, or addiction to other
        opioids in Tarrant County, Texas or the State of Texas.

6.      All Documents and data relating to substance abuse or suspected substance abuse
        involvement in Tarrant County, Texas or the State of Texas, including but not limited to
        information contained in any applicable tracking database.

7.      All narrative data fields (de-identified) from any database discussing or relating to parental
        or child abuse of, or removal due to, Prescription Opioids, Illicit Opioids, and Illicit Drugs.



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8.      All data You collected or received from any third party contractors related to drug testing
        results, including any information identifying the presence of Prescription Opioids, Illicit
        Opioids, or Illicit Drugs.

9.      All statistical reports You have prepared (either upon request or as part of the normal course
        of operations) that relate to substance abuse in Tarrant County, Texas.

10.     All Documents sufficient to identify, by year and for each program or service that You
        provide, (a) the number of individuals in Tarrant County, Texas to whom You provided
        services because they, or someone closely associated with them or related to them have an
        opioid use disorder resulting from using Illicit Opioids, and the amount You were paid by
        Tarrant County, Texas for those services; (b) the number of individuals in Tarrant County,
        Texas to whom You provided services because they, or someone closely associated with
        them or related to them have an opioid use disorder resulting from the misuse or abuse of
        Prescription Opioids, and the amount You were paid by Tarrant County, Texas for those
        services; (c) the number of individuals in Tarrant County, Texas to whom You provided
        services because they, or someone closely associated with them or related to them have a
        drug addiction that does not involve opioids, and the amount You were paid by Tarrant
        County, Texas for those services; and (d) the number of individuals in Tarrant County,
        Texas to whom You provided services because they, or someone closely associated with
        them or related to them have a substance abuse problem or addiction that does not involve
        drugs, and the amount You were paid by Tarrant County, Texas for those services.

11.      All transactional data and databases You use to track, record, or otherwise account for Your
         annual revenue and expenses.

12.      All Documents reflecting Your finances, including but not limited to, budgets, expense
         rep01is, and Documents concerning Your funding.

13.      All Documents and Communications referring to or relating to any assistance, grants,
         subgrants, or funding that You sought and/or obtained to combat drug-related issues with
         respect to the opioid epidemic, including but not limited to, documents reflecting funding
         you provided to the Plaintiffs related to Prescription or Illicit Opioids.

14.      All transactional data and databases You use or Documents you have that track, record, or
         otherwise accow1t for the services that You provide or the number of cases you handle or
         service per year.

15.      All transactional data and databases You use or Documents you have that track, record, or
         otherwise account for the services that You provide or the number of cases you handle or
         service per year regarding, relating to or referring to Prescription Opioids, Illicit Opioids,
         or Illicit Drugs.

16.      All case files in Your possession or control that relate to Prescription or Illicit Opioids or
         any other substance use and abuse in Tarrant County, Texas.




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17.     All Documents reflecting, describing, or referring to the reason or root cause for any
        increases or decreases in the number of cases or amount of services You are currently
        handling or providing or have handled or provided in the past.

18.     All Documents reflecting Your structure and operation, including but not limited to,
        organizational charts and all Documents discussing the operation of Your Executive Board,
        initiatives and programs.

19.     All Documents concerning and/or relating to Your creation.

20.     All Documents discussing, referring, or relating to any trainings that You provide regarding
        Prescription or Illicit Opioids.

21.     All Documents constituting or describing data and/or analysis relating to people who obtain
        Prescription Opioids through illegal or improper means and/or diversion.

22.     All Documents containing data or analysis relating to Prescription Opioids that were
        prescribed off-label or contrary to accepted medical guidelines.

23.      All Documents containing data or analysis relating to the abuse, misuse, or diversion of
         Prescription Opioids, broken down by product or chemical substance.

24.      All Documents reflecting direct, indirect, and monetary costs and expenses You or any
         Plaintiff has incurred that You attribute to the opioid abuse epidemic or the use, misuse or
         abuse of Prescription Opioids or Illicit Opioids in Tarrant County, Texas.

25.      All Documents relating to any investigation of factors other than the activities of
         Defendants that caused or contributed to the opioid abuse epidemic in the Tarrant County,
         Texas.

26.      Any reports, presentations, lectures, seminars, workshops, symposia or other similar
         educational programs made or sponsored by You or on Your behalf related to the opioid
         abuse epidemic in Tarrant County, Texas, including all data and source materials used to
         create those documents.




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                                                                                     600 Quarrier Street
                                                                                     Charleston, VW 25301

                                                                                     101 South Queen Street
        Attorneys at Law
                                                                                     Martinsburg, VW 25401

                                                                                     125 Granville Square, Suite 400
Southpointe Town Center                                                              Morgantown, VW 26501
1800 Main Street, Suite 200, Canonsburg, PA 15317
724.514.8915                                                                         501 Avery Street
                                                                                     Parkersburg, VW 26101

                                                                                     480 West Jubal Early Drive, Suite 130
                                                                                     Winchester, VA 22601
Jennifer B. Hagedorn
ihaqedorn@bowlesrice.com
T 724.514.8940
F 724.514.8954

                                                                                     bowlesrice.com
                                                    July 21, 2023
HAND DELIVERY

Fort Worth Police Department
Bob Bolen Public Safety Complex
505 West Felix Street
Fort Worth, TX 76115

         Re:       In re National Prescription Opiate Litigation, No. 17-md-02804 (United States
                   District Court for the Northern District of Ohio)

Dear Sir or Madam:

         We represent Kroger entities in a case brought by Tarrant County, Texas against retail
pharmacy chains related to the dispensing of prescription opioids. The case is pending in the federal
district court in Cleveland, Ohio.

        Enclosed please find a subpoena for your deposition testimony. We are mindful that there are
many demands on your time. However, the allegations made against our clients by the County require
us to take your deposition. The deposition would take place remotely.

         We have some flexibility to move the date of the deposition to accommodate your schedule,
if there are other dates that work for you and for other parties in this case. However, please note that
we are required by court order to complete discovery by August 28, 2023. Please reach out at any
time by either email to Grayson O'Saile {gosaile@bowlesrice.com) or phone at 304-347-1780 and
we can discuss how best to proceed. If you have engaged an attorney, please have your attorney
contact us. Thank you for your attention to this matter.


                                                               Sincerely,

                                                               / s / J ~ f3. H0-9e,ol,o-vvv
                                                               Jennifer B. Hagedorn

JBH:kkh
Enclosures
   Case 4:23-mc-00013-P Document 1 Filed 08/16/23                Page 28 of 47 PageID 28



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE PRESCRIPTION
OPIATE LITIGATION                               MDL No. 2804

This document relates to:                       Case No. 17-md-2804
Case No. 1:18-op-45274-DAP
                                                Judge Dan Aaron Polster
TARRANT COUNTY, TX,

                              Plaintiff,

        VS.


PURDUE PHARMA, et al.,

                              Defendants.

Track 9


                      NOTICE OF INTENT TO SERVE SUBPOENA


       Pursuant to the applicable Federal Rules of Civil Procedure, the Court's local rules, this

Court's Case Management Orders, and any other applicable law or rule, the Defendants, The

Kroger Co., Kroger Limited Partnership I, and Kroger Limited Partnership II, and Kroger Texas

LP in Track 9 will serve a subpoena commanding the production of documents and testimony on

the Fort Worth Police Department.

       Please find attached a copy of the subpoenas for the production of documents and
testimony.
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Date: July 21, 2023                         Respectfully submitted,

                                           Isl Jennifer B. Hagedorn
                                           Ronda L. Harvey Esq. (WVSB 6326)
                                            Fazal A. Shere, Esq. (WVSB 5433)
                                            Ashley H. Odell, Esq. (WVSB 9380)
                                            Jennifer B. Hagedorn, Esq. (WVSB 315543)
                                            BOWLES RICE LLP
                                            600 Quarrier Street
                                            Charleston, West Virginia 25301
                                            304-347-1100
                                            rharvey@bowlesrice.com
                                            fshere@bowlesrice.com
                                            ahardestyodell@bowlesrice.com
                                            jhagedorn@bowlesrice.com

                                            Counsel for Defendants The Kroger Co.,
                                            Kroger Limited Partnership I, and
                                            Kroger Limited Partnership II


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of July, 2023, a true and correct copy of the

foregoing was served via email on the following:

       mdl2804discovery@motleyrice.com

       tracks6to 1Odefendants@bbhps.com

                                                   Isl    Jennifer B. Hagedorn
                                                   Jennifer B. Hagedorn (WVSB #315543)

                                                   Counsel for Defendants The Kroger Co.,
                                                   Kroger Limited Partnership I, and
                                                   Kroger Limited Partnership II




                                               2
             Case 4:23-mc-00013-P Document 1 Filed 08/16/23                                      Page 30 of 47 PageID 30
AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                              Northern District of Ohio

             In re Prescription Opiate Litigation                              )
                               Plaintifl                                       )
                                  V.                                           )      Civil Action No.      1 :17-md-02804-DAP
                                                                               )
                                                                               )
                              D~fendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                   Fort Worth Police Department
                               Bob Bolen Public Safety Complex, 505 West Felix Street, Fort Worth, TX 76115
                                                        (Name ofperson to whom this subpoena is directed)

     ,/ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters: See Schedule "A"

 Place:                                                                                Date and Time:
            Remote Deposition via Veritext Legal Solutions                                               08/18/2023 10:00 am

           The deposition will be recorded by this method: _S_te_n_o_g_ra_p_h_a_nd_V_id_e_o_ta_p_e_ _ _ _ _ _ _ _ _ _ _ __

       tf Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: See Schedule "B"




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         07/21/2023
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Jennifer B. Hagedorn
                                           Signature of C/e,-k OI' Deputy Clerk                                Attomey's signafl/l'e

The name, address, e-mail address, and telephone number of the attorney representing (name ofpm·ty) The Kroger Co., Kr-
oger Limited Partnership I, Kroger Limited Partnership 11, Kroger TX LP , who issues or requests this subpoena, are:
Jennifer B. Hagedorn, Bowles Rice LLP, 600 Quarrier Street, Charleston, WV 25301; 724-514-8940;
jhageaern@t;;iewlesrioe,ser:i:i
                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-mc-00013-P Document 1 Filed 08/16/23                                   Page 31 of 47 PageID 31
AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1: 17-md-02804-DAP

                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, (f any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                      for services, for a total of$    0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Se111er's signature



                                                                                          Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc.:
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AO ~8A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                            Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert's opinion or infonnation that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert's
   (A) within l 00 miles of where the person resides, is employed, or             study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specijj1i11g Conditions as au Altemative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party's officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                           (1) Producing Doc11111e11ts or Electro11ically Stored /11for111atio11. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  infonnation:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinaty course of business or
 (1) A1•oiding Undue Burden or Expense; Sa11ctio11s. A patty or attorney          must organize and label them to c01Tespond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Spec/fled.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a fonn for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable fonn or fonns.
lost earnings and reasonable attorney's fees--on a party or attorney who             (C) Electronically Stored bifor111atio11 Produced i11 On~v One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  infonnation in more than one fonn.
 (2) Co111111a11d to Produce Materials 01· Permit Inspection.                        (D) Inaccessible Electronically Stored J1iformatio11. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored infonnation
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovety or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discove1y from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.       (2) Claimillg Privilege or Protection.
The objection must be served before the earlier of the time specified for          (A) biformation Withheld. A person withholding subpoenaed information
compliance or 14 days alter the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rnles apply:                                                        material must:
      (i) At any time, on notice to the commanded person, the serving party           (i) expressly make the claim: and
may move the court for the district where compliance is required for an               (ii) describe the nature of the withheld documents, conununications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the      privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from      (B) J11for111ation Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifyiug a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a pm1y must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the pm1y disclosed it before being notified; and may promptly
     (i) foils to allow a reasonable time to comply;                              present the infonnation under seal to the comt for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45( c);                                                         produced the infonnation must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (Iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, alter a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing comt-may hold in contempt a person
motion, quash 01· modify the subpoena if it requires:                              who, having been se1ved, fails without adequate excuse to obey the
                                                                                   subpoena or a11 order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           Schedule "A"

                                      Topics for Examination

                            Fort Worth Police Department (FWPD)

The topics upon which the person or persons designated by You are asked to be prepared
to testify in accordance with Rule 30(b)(6) are:

1.      Your understanding of the meaning of the term "suspicious orders" in connection with
        orders for controlled substances.

2.      Your procedures, policies, and protocols regarding receipt, storage, maintenance,
        retention, organization, analysis, utilization, investigation, and handling of Suspicious
        Order Reports and its approach in investigating, sharing, or in any way responding to or
        using such Suspicious Order Reports.

3.      Any guidance issued by the Fort Worth Police Department (FWPD)regarding the reporting
        of suspicious orders, including memoranda, operating procedures, or other instructions.

4.      Your use of Automated Reports and Consolidated Ordering Systems (ARCOS) Data,
        Suspicious Order Reports, data from the Texas Prescription Monitoring Program (Texas
        PMP), in connection with Your effmis to address drug-related crimes, the diversion of
        Prescription Opioids, or the unlawful trafficking of Prescription or Illicit Opioids.

5.      Your understanding or investigation of the source of Illicit Opioids manufactured,
        Distributed, or consumed in the State of Texas.

6.      Your understanding or investigation of individuals and entities for unlawfully producing,
        transporting, diverting, using, purchasing, distributing, selling, or trafficking Prescription
        or Illicit Opioids within or into the State of Texas. Included in this topic are any
        communications, such as complaints or notifications, You received concerning actual or
        potential involvement of any person or entity in the improper distribution, sale, or diversion
        of Prescription Opioid medications.

7.      Your efforts to combat the misuse, abuse, sale, diversion, production, transportation,
        distribution, purchase, and/or trafficking of Prescription or Illicit Opioids within or into the
        State of Texas.

8.      The identities of the pharmacists, pharmacy interns, doctors or other prescribers, patients,
        or other persons or entities that You have investigated for the diversion of Prescription
        Opioids within or in the State of Texas, and the identities of all persons or entities that You
        suspect of having engaged in such conduct.

9.      The identities of the individuals or entities You have investigated or disciplined for
        unlawfully producing, transporting, diverting, selling, or trafficking Prescription Opioids


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      and/or Illicit Opioids within or into the State of Texas, and the identities of all persons or
      entities that You suspect of having engaged in such conduct.

10.   Your efforts to combat the opioid epidemic and the diversion of Prescription Opioids
      including but not limited to the following:

      (a)    Your participation in any task force, organization, and/or committee with
             responsibilities relating to Prescription Opioids or Illicit Opioids in the state of
             Texas.

      (a)    Your efforts to investigate and track the illegal use, abuse, misuse, sale,
             purchase, trafficking, diversion, or distribution of Prescription or Illicit Opioids
             within the State of Texas.

      (b)     Your efforts to investigate individuals or entities located within the State of
              Texas, whose conduct regarding Prescription or Illicit Opioids You believe,
              suspect, or contend caused harm within the State of Texas.

      (c)     Any information or assistance, including but not limited to financial grants, You
              provided to the State of Texas to combat drug-related crime, respond to the opioid
              epidemic, or form a joint task force to combat the opioid epidemic.

      (d)     Your eff01is to facilitate intelligence sharing and promote coordinated strategies
              to combat the use, misuse, abuse, sale, diversion, production, transp01iation,
              distribution, purchase, and/or trafficking of Prescription or Illicit Opioids within or
              into the State of Texas.

      (e)     Your eff01is to investigate, indict, charge, sanction, and/or discipline individual
              or entities for the unlawful use, abuse, misuse, sale, purchase, trafficking, diversion,
              or distribution of Illicit or Prescription Opioids within or into the State of Texas.

      (f)     Your efforts to develop and use Prescriber Report Cards.

11.   Your understanding of the therapeutic benefits of Prescription Opioid medications.

12.   Your understanding of what constitutes "diversion"' of Prescription Opioid medications,
      and the ways in which Prescription Opioid medications have been diverted in the State of
      Texas since 1996.




13.   The Texas Prescription Monitoring Program (PMP). Included in this topic is why the
      program was created; what purpose it serves; the data it contains; who requested or had
      requested access to information in the program; and the evolution of its capabilities and



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      utilization. Included in this topic is any analysis of data contained in the PMP and any
      actions taken in response to such analysis.

14.   Your knowledge of the volume and details of prescriptions for Prescription Opioid
      medications dispensed in the State of Texas.

15.   The professional obligations of pharmacists and other persons regulated by the
      Fort W01ih Police Department (FWPD) relating to the dispensing of Prescription Opioid
      medications, and Your efforts to enforce those obligations.

16.   Professional education, training programs, and guidelines relating to the prescribing and
      dispensing of Prescription Opioid medications and other controlled substances.

17.   The sharing, or lack of sharing, of Prescription Opioid distribution data (e.g., ARCOS or
      CSMP data) between the TSBP and the DEA, and how the TSBP used any data it
      received from DEA.

18.   The authority and role of the F01t W01ihPolice Department (FWPD) in enforcing the Texas
      Controlled Substances Act, the practice of pharmacy, and the federal Controlled
      Substances Act.

19.   The Arlington Police Department (APD)' s licensing responsibilities, including the
      licensing and licensing files of manufacturers, wholesale distributors, pharmacies,
      pharmacists, and pharmacy technicians.

20.   The structure and operation of the F01i Worth Police Depaiiment (FWPD).

21.   The finances of the Fort W01ih Police Department (FWPD).

22.   Your Communications with the Mansfield Police Department (MPD), Fort Worth Police
      Department (FWPD), Arlington Police Department (APD), Texas Employee Retirement
      System (ERS), Texas Department oflnsurance (TDI) (Workers' Compensation Division),
      Texas Department of Family and Protective Services (DFPS), Texas A&M Opioid Task
      Force, Texas Drug Utilization Review Board (DURB), Texas Health and Human Services
      (HHS), Texas Department of State Health Services (DSHS), Texas State Board of
      Pharmacy (TSBP), Texas Medical Board, the Texas State Board of Dental Examiners, the
      Texas Board of Nursing, the National Association of Boards of Pharmacy, other state
      Boards of Pharmacy, the DEA, the Department of Justice, the FBI, other federal, state, and
      local law enforcement entities, regarding Suspicious Order Rep01is; the abuse, misuse,
      sale, purchase, trafficking, diversion, or distribution of Illicit or Prescription Opioids;
      eff01is to combat the opioid crisis; and/or Illicit Opioids.


23.   Your Communications with Defendants, including communications regarding actual or
      suspected diversion by pharmacists, pharmacy interns, doctors or other prescribers, or
      patients in Texas.


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24.   Communications between You and any other local, state, or federal agency relating to
      Defendants.

25.   Communications between You and any person or entity concerning any topic listed above
      (No. 1 through 24), including but not limited to all Communications regarding Illicit
      Opioids, Prescription Opioids, diversion, and the opioid epidemic.




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                                           Schedule "B"

                             Requests for Production of Documents

                                             Definitions

       Notwithstanding any definition set forth below, each word, term, or phrase used in these
Requests is intended to have the broadest meaning permitted under the Federal Rules of Civil
Procedure.

       1. "Abuse" means the nonmedical or otherwise unauthorized or harmful use or misuse of
any Opioid or controlled substance and includes addiction, overdose, death, and diversion to illicit
use.

       2. "All" shall be construed to include the collective as well as the singular and shall mean
"each," "any," and "every."

       3. "Any" shall be construed to mean "any and all."

       4. "Claim" means any request for payment or reimbursement, in full or in part.

         5. "Claims Data" means all information and data regarding the submission, processing,
status, adjudication, and reimbursement of a Claim, including claim number and extension, if any;
group number; plan type; member number; member date of birth, gender, and benefit status;
subscriber information; dates of injury, prescription, fill, claim submission, and bill; all diagnosis
code(s); drug name, code, generic name, class, and type; prior authorization information; quantity;
days supply; provider name, address, National Provider Information, Medical Education number,
Drug Enforcement Agency number; bill amount, insurance allowed amount, insurance plan paid
amount, copayment amount, coinsurance amount, deductible amount, other insurer paid amount,
other insurer name, total paid amount; fee schedule; Average Wholesale Price unit cost; payment
basis, pharmacy billed charge or Usual & Customary Charge, ingredient cost, dispensing fee, other
cost information; and patient name and address or, if Plaintiffs are unable to provide patient name,
information sufficient to associate all Claims filed regarding a particular individual across all
databases containing responsive information.

       6. "Communication(s)" means any disclosure, transfer, or exchange of information or
opinion, however made.

       7. "Defendants" means, collectively, the named defendants in this action, and their present
or former officers, directors, shareholders, employees, agents, representatives, counsel and all
persons and entities acting or purporting to act under their control or on their behalf.

        8. "Document(s)" has the full meaning ascribed to it Texas Rules of Civil Procedure, and
means the complete original (or complete copy where the original is unavailable) and each non-
identical copy (where different from the original because of notes made on the copy or otherwise)
of any writing or record, including, but not limited to, all written, typewritten, handwritten, printed,
or graphic matter of any kind or nature, however produced or reproduced, any form of collected
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data for use with electronic data processing equipment, and any mechanical or electronic visual or
sound recordings or text messages in the Board's possession, custody, or control. "Document(s)"
include, but are not limited to, books, papers, contracts, memoranda, invoices, correspondence,
notes, studies, reports, manuals, photographs, drawings, charts, graphs, data compilations,
databases, other writings, microfilm, microfiche, audio recordings, video recordings, electronic
mail, and any other information stored in electronic form, and each different version or copy of
each Document, including, but not limited to, drafts.

        9. "Electronically Stored Information" or "ESI'' is used consistent with how the term is
defined and construed under Texas law and includes without limitation all electronic data
(including reasonably accessible active, archival, or backup data, such as backup tapes, distributed
data, electronic mail, forensic copies, metadata, and residual data) stored in a medium from which
information can be reasonably obtained.

        10. "Health Care Program(s)" means every program, depaiiment, facility, or Health Care
Provider controlled, administered, overseen, or paid for by the State of Texas, its agencies, sub-
agencies, offices, departments, divisions, subdivisions, boards, or commissions, or any other
Person or entity acting on their behalf, whether in full or in part, that (i) provides health care for
any Texas residents; (ii) provides health care for any employees, temporary employees, or
independent contractors of the State of Texas during the Relevant Time Period; (iii) provides
payment or reimbursement of any Claims, in full or in part; or (iv) reviews, authorizes, or
determines the conditions for payment or reimbursement, in full or in part, for any Opioid
prescribed, administered, or dispensed to a Patient.

        11. "Health Care Provider(s)" or "HCP(s)" means any healthcare professional, healthcare
or medical entity, or other Person or entities who provides medical assistance or healthcare services
to Patients or other individuals, including but not limited doctors, nurses, or physician's assistants,
or Persons who prescribe, administer, or dispense any Opioid or Medication Assisted Treatment
to Patients or other individuals.

        12. "Including" shall be construed to mean "including but not limited to."

       13. "Manufacturer" means any Person, organization, or corporate entity that manufactures
any Opioid.

       14. "Medication Assisted Treatment" means the use of medications with counseling and
behavioral therapies to treat substance Abuse disorders, including to prevent Opioid misuse,
Abuse, or overdose.

       15. "Opioid(s)" refers to FDA-approved pain-reducing medications consisting of natural
or synthetic chemicals that bind to opioid receptors in a patient's brain or body to produce an
analgesic effect.

       16. "Patient(s)" means any Person in the State of Texas or any Person covered by a Health
Care Program in Texas who receives medical treatment, and includes any Person to whom any
Opioid is prescribed, administered, or dispensed.


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       17. "Person(s)" means any natural or legal person.

       18. "Plaintiffs" mean the Plaintiffs, including all of their agencies, departments,
commissions, boards, officers, or other executive entities; any agent, employee, or representative;
and any other persons, agencies, or entities acting or purporting to act on their behalf or controlled
by them.

         19. "Program(s)" means every program, depmiment, facility, or HCP that (i) provides
health care for Plaintiffs' residents; (ii) provides health care for any employee of the Plaintiffs
during the Relevant Time Period; (iii) provides payment or reimbursement of any claims, in full
or in pmi; or (iv) reviews, authorizes, or determines the conditions for payment or reimbursement,
in full or in part, for any Opioid prescribed, administered, or dispensed to a Patient.

        20. "Relate to," "related to," "relates to," "relating to," and "concerning" mean referring
to, summarizing, reflecting, constituting, containing, concerning, embodying, mentioning,
discussing, describing, consisting of, comprising, showing, commenting on, tending to support or
tending to refute, or in any way logically or factually connected with the matter that is the subject
of the Request.

       21. "Subject Opioid(s)" refers to any of the following Opioids: OxyContin, MS Cantin,
Dilaudid, Dilaudid HP, Butrans, Hysingla ER, Tm·ginig ER, Tapentodol, Actiq, Fentora,
Duragesic, Nucynta, Nucynta ER, Opana, Opana ER, Percodan, Percocet, Zydone, Kadian, Norco,
any generic forms of the foregoing Opioids, oxycodone, oxymorphone, hydromorphone,
hydrocodone, and prescription fentanyl.

        22. "You" and "Your" mean the Person(s) or entity(s) to whom or to which this Subpoena
is directed as reflected on the first page, or subsections as applicable. These terms also shall include
all agencies, sub-agencies, offices, departments, divisions, subdivisions, boards, commissions,
officers, agents, employees, investigators, representatives, consultants, or other entities or Persons
within Your control, and any predecessor, successor, parent, subsidiary, division, or affiliate.

                                             Instructions

        1. Unless otherwise indicated, these Requests cover the time frame from January 1, 1990
to present.

      2. When providing your responses, please indicate the Request to which each document or
answer responds in the meta data field, Request No. If You believe that You already have
produced documents responsive to any of the Requests below, then please specify (by bates-
number) which documents are responsive to which specific Request.

        3. Documents shall be produced in accordance with and as they are kept in the usual course
of business.
        4. For each document that you produce, produce the current version together with all earlier
editions, versions or predecessor documents during the relevant time period, even though the title
of earlier documents may differ from current versions.


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       5. Requested format for documents produced electronically in response to this Request:

        a. Any documents produced in response to this Request should be provided as a Group 4
compression single-page "TIFF" image that reflects how the source document would have
appeared if printed out to a printer attached to a computer viewing the file. Extracted text will be
included in the manner provided herein. To the extent that extracted text does not exist, these
images will be processed through Optical Character Recognition ("OCR") so that they are fully
searchable. Extracted text and OCR should be provided in separate document level text files. "Load
files" shall be produced to accompany the images and shall facilitate the use of the litigation
suppmi database systems to review the produced images.

        b. Document Unitization. Each page of a document shall be electronically converted into
an image as described above. If a document is more than one page, the unitization of the document
and any attachments and/or affixed notes shall be maintained as it existed in the original when
creating the image file and appropriately designated in the load files. The corresponding
parent/attachment relationships, to the extent possible, shall be provided in the load files furnished
with each production.

        c. Bates Numbering. Each page of a produced document shall have a legible, unique page
identifier ("Bates Number") electronically branded onto the image at a location that does not
obliterate, conceal, or interfere with any information from the source document. In order to ensure
that the Bates Numbers do not obscure po1iions of the documents, the images may be
propmiionally reduced to create a larger margin in which the Bates Number may be branded. There
shall be no other legend or stamp placed on the document image, except those sections of a
document that are redacted to eliminate material protected from disclosure by the attorney-client
or work product privileges shall have the legend "REDACTED" placed in the location where the
redaction(s) occurred or shall otherwise note the location and/or location of the information for
which such protections are claimed.

         d. File Naming Conventions. Each document image file shall be named with the unique
Bates Number of the page of the document in the case of single-page TIFFs, followed by the
extension "TIF." Each document shall be named with a unique document identifier. Attachments
shall have their own unique document identifiers. e. Production Media. The documents should be
produced on CD-ROM, DVD, or external hard drive (with standard Windows PC compatible
interface), (the "Production Media"). Each piece of Production Media shall identify a production
number corresponding to the production "wave" the documents on the Production Media are
associated with (e.g., "V00l," "V002"), as well as the volume of the material in that production
wave (e.g., "-001," "-002"). For example, if the first production wave comprises document images
on tlu·ee hard drives, the Respondent shall label each hard drive in the following manner: "V00l-
001," "V00l-002," "V00l-003." Additional information that shall be identified on the physical
Production Media shall include: (1) text referencing that it was produced in [Case Docket No.],
(2) the producing party's name, (3) the production date, and (4) the Bates Number range of the
materials contained on the Production Media. f. Objective Coding/Extracted Meta Data.
Respondent shall produce with each production of documents with extracted metadata for each
document (the "Objective Coding") included in the load file. The data file shall include the fields


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and type of content set forth in the SPECIAL INSTRUCTIONS FOR ELECTRONICALLY
STORED MATERIAL section. Objective Coding shall be labeled and produced on Production
Media in accordance with the provisions set forth above. g. Native format for Excel and databases.
To the extent that such documents exist in Excel or another spreadsheet program, produce the
document in its native format. To the extent that the document format constitutes a database created
or maintained in Access or another software program, produce the document in its native format.
If the database is based upon proprietary software, produce whatever keys and instructions are
necessary to review it. 6. Requested format for hard copies of documents produced in response to
this Request: a. create electronic copies of the documents and produce them in accordance with
the procedures described in section S(a) herein, provided that you retain the originals from which
the electronic copies were made until the final disposition of the matter; b. include a loadfile with
corresponding information, including the following data fields: BegDoc, EndDoc, Custodian,
DocTitle, Filename, Request No.; c. the Custodian field in the load:file should contain the name of
the custodian or location from which the hard copy document was taken; d. the Request No. field
should contain the number of the Requests to which the document is responsive.

       7. This Request requires you to produce all described documents in your possession,
custody or control without regard to the person or persons by whom or for whom the documents
were prepared (e.g., your employees, distributors or dealers, competitors or others).

       8. If any responsive document was, but no longer is, in your possession, custody or control,
produce a description of each such document. The description shall include the following:

        a. the name of each author, sender, creator, and initiator of such document;

       b. the name of each recipient, addressee, or party for whom such document was intended;

        c. the date the document was created;

        d. the date(s) the document was in use;

        e. the title of the document;

        f. a detailed description of the content of the document;
        g. the reason it is no longer in your possession, custody or control; and

        h. the document's present whereabouts and custodian thereof.

        9. In the event a document that is responsive to these Requests is not in your possession
but you have a right to obtain the document or a copy of the document from a third party, you must
obtain it (or a copy) and produce it in response to these Requests.
        10. If the document is no longer in existence, in addition to providing the information
indicated above, state on whose instructions the document was destroyed or otherwise disposed
of, and the date and manner of the disposal.




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        11. If you assert a privilege in responding to this Subpoena, state the type of privilege
asse1ted and the basis for its assertion. In addition, identify the Communication or Document with
respect to which the privilege is asse1ted. For any document to which a privilege is asserted, state:

      a. The type of document (e.g., letter, memorandum, contract, etc.), the date of the
document, and the subject matter of the same;

        b. The name, address, and position of the author of the document and of any person who
assisted in its preparation;

       c. The name, address, and position of each addressee or recipient of the document or any
copies of it;

       d. The present location of the document and the identity of the person having custody of it.

        12. The documents requested: (i) shall not contain any HIP AA-protected patient
information including patient names, social security numbers, addresses, birth dates, or other
identifying information; or, (ii) shall have HIPAA-protected patient identifying information
redacted by defendant. Should You consider any of the Documents requested to be confidential
such that they should not be generally disseminated to the public or released to the press, please
designate these documents as such under any operative Protective Order in this case.

        13. Should You determine that any of the Documents requested contain personal health
information that may not be disclosed pursuant to HIP AA or analogous state law, please redact
that information and assign in its place a unique identifier. Where there exists a good faith doubt
as to the scope of personal health information that should be redacted, You are asked and
encouraged to contact counsel for Defendants in advance of applying potentially overbroad
redactions or unnecessarily withholding responsive Documents.

         14. Produce documents in the order in which you maintained them in your files, in copies
of their original file folders, labeled with the folder's original file labels. Do not mask any portion
of any document; produce the entire document, including all attachments to such responsive
documents. Provide a key to all abbreviations used in documents and attach the key to the
appropriate documents.

        15. If you obtain information or documents responsive to any Request after you have
submitted your written Responses or production, you have an affirmative duty to supplement your
Responses and/or production with any new and/or different information and/or documents that
become available to you.
        16. Where there exists a good faith doubt as to the meaning or intended scope of a Request,
and Your sole objection would be to its vagueness or ambiguity, You are asked and encouraged to
contact counsel for Defendants in advance of asse1iing an unnecessary objection. The undersigned
counsel will provide additional clarification or explanation as may be needed.




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                         Special Instructions for Proprietary Databases

       Documents stored in proprietary databases should be produced in such a way that the data,
information, and functionality of the original database( s) is not lost.

                     Documents to be Produced Pursuant to this Subpoena

1.      All Communications between You and Plaintiffs discussing, referring, or relating to the
        prescribing, dispensing, use, misuse, abuse, sale, diversion, production, distribution, or
        trafficking of Prescription Opioids or Illicit Opioids within or into Tarrant County, Texas.

2.      All Documents discussing, refeITing, or relating to Your or Plaintiffs' efforts, including,
        but not limited to, any programs or task forces that You or Plaintiffs have developed to
        combat or address the unlawful prescribing, dispensing, use, misuse, abuse, sale, diversion,
        production, distribution, purchase, or trafficking of Prescription Opioids or Illicit Opioids
        within Tarrant County, Texas.

3.      All Documents relating to any law enforcement, child endangerment, child removal, or
        administrative investigations, prosecutions, and/or enforcement actions relating to
        Prescription or Illicit Opioids or Illicit Drugs in Tarrant County, Texas.

4.      All Documents discussing, referring, or relating to Your meeting minutes, including, but
        not limited to, committee and subcommittee meeting minutes, in which the prescribing,
        dispensing, use, misuse, abuse, sale, diversion, production, distribution, purchase, or
        trafficking of Prescription Opioids, Illicit Opioids, or Illicit Drugs within or into Tan-ant
        County Texas or where Tarrant County, Texas or the State of Texas were discussed.

5.      All Documents constituting or related to any Communications between You, or anyone
        acting on Your behalf, and any federal, state, or local official or agency (including, but not
        limited to, the DEA, the Federal Bureau of Investigation, a United States Attorney or
        representative thereof, any other department within the Texas Health and Human Services
        or its constituent providers, the Texas Department of Public Safety, the Texas Board of
        Pharmacy, the Texas Medical Board, the Texas Board of Dentistry, the California Board
        of Examiners for Licensed Practical Nurses, the Texas Board of Nursing, other cities,
        counties or agencies of the State of Texas, or any city, county, or agency of any other State),
        insurer, third-party payer, or pharmacy benefit manager that refer or relate to improper
        prescribing, unlawful sale, or other suspected wrongdoing related to Prescription Opioids,
        Illicit Opioids, or Illicit Drugs, or the possession, abuse, illegal sale, or addiction to other
        opioids in Tarrant County, Texas or the State of Texas.

6.      All Documents and data relating to substance abuse or suspected substance abuse
        involvement in Tarrant County, Texas or the State of Texas, including but not limited to
        information contained in any applicable tracking database.

7.      All narrative data fields (de-identified) from any database discussing or relating to parental
        or child abuse of, or removal due to, Prescription Opioids, Illicit Opioids, and Illicit Drugs.



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8.       All data You collected or received from any third party contractors related to drug testing
         results, including any information identifying the presence of Prescription Opioids, Illicit
         Opioids, or Illicit Drugs.

9.       All statistical reports You have prepared (either upon request or as part of the normal course
         of operations) that relate to substance abuse in Tarrant County, Texas.

IO.      All Documents sufficient to identify, by year and for each program or service that You
         provide, (a) the number of individuals in Tarrant County, Texas to whom You provided
         services because they, or someone closely associated with them or related to them have an
         opioid use disorder resulting from using Illicit Opioids, and the amount You were paid by
         Tarrant County, Texas for those services; (b) the number of individuals in Tarrant County,
         Texas to whom You provided services because they, or someone closely associated with
         them or related to them have an opioid use disorder resulting from the misuse or abuse of
         Prescription Opioids, and the amount You were paid by Tarrant County, Texas for those
         services; (c) the number of individuals in Tarrant County, Texas to whom You provided
         services because they, or someone closely associated with them or related to them have a
         drug addiction that does not involve opioids, and the amount You were paid by Tarrant
         County, Texas for those services; and (d) the number of individuals in Tarrant County,
         Texas to whom You provided services because they, or someone closely associated with
         them or related to them have a substance abuse problem or addiction that does not involve
         drugs, and the amount You were paid by Tarrant County, Texas for those services.

11.      All transactional data and databases You use to track, record, or otherwise account for Your
         annual revenue and expenses.

12.      All Documents reflecting Your finances, including but not limited to, budgets, expense
         rep01is, and Documents concerning Your funding.

13.      All Documents and Communications referring to or relating to any assistance, grants,
         subgrants, or funding that You sought and/or obtained to combat drug-related issues with
         respect to the opioid epidemic, including but not limited to, documents reflecting funding
         you provided to the Plaintiffs related to Prescription or Illicit Opioids.

14.      All transactional data and databases You use or Documents you have that track, record, or
         otherwise account for the services that You provide or the number of cases you handle or
         service per year.

15.      All transactional data and databases You use or Documents you have that track, record, or
         otherwise account for the services that You provide or the number of cases you handle or
         service per year regarding, relating to or referring to Prescription Opioids, Illicit Opioids,
         or Illicit Drugs.

16.      All case files in Your possession or control that relate to Prescription or Illicit Opioids or
         any other substance use and abuse in Tarrant County, Texas.




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17.     All Documents reflecting, describing, or referring to the reason or root cause for any
        increases or decreases in the number of cases or amount of services You are currently
        handling or providing or have handled or provided in the past.

18.     All Documents reflecting Your structure and operation, including but not limited to,
        organizational charts and all Documents discussing the operation of Your Executive Board,
        initiatives and programs.

19.     All Documents concerning and/or relating to Your creation.

20.     All Documents discussing, referring, or relating to any trainings that You provide regarding
        Prescription or Illicit Opioids.

21.     All Documents constituting or describing data and/or analysis relating to people who obtain
        Prescription Opioids through illegal or improper means and/or diversion.

22.      All Documents containing data or analysis relating to Prescription Opioids that were
         prescribed off-label or contrary to accepted medical guidelines.

23.      All Documents containing data or analysis relating to the abuse, misuse, or diversion of
         Prescription Opioids, broken down by product or chemical substance.

24.      All Documents reflecting direct, indirect, and monetary costs and expenses You or any
         Plaintiff has incurred that You attribute to the opioid abuse epidemic or the use, misuse or
         abuse of Prescription Opioids or IIlicit Opioids in Tarrant County, Texas.

25.      All Documents relating to any investigation of factors other than the activities of
         Defendants that caused or contributed to the opioid abuse epidemic in the Tarrant County,
         Texas.

26.      Any repmis, presentations, lectures, seminars, workshops, symposia or other similar
         educational programs made or sponsored by You or on Your behalf related to the opioid
         abuse epidemic in Tarrant County, Texas, including all data and source materials used to
         create those documents.




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                        AFFIDAVIT OF JAMES STOCKTON                                           B
STATE OF TEXAS                   §
                                 §
COUNTY OF TARRANT                §


        BEFORE ME, the undersigned authority, personally appeared James Stockton, the

Affiant, who, being by me duly sworn, deposed as follows:

1.      "My name is James Stockton. I am over eighteen years of age. I am of sound

mind, capable of making this affidavit, and personally acquainted with the facts herein

stated, which are true and correct.

2.      I am employed as a Captain with the City of Fort Worth Police Department and

have served in this role since   Februray 2021

3.      As a municipal law enforcement agency, Fort Worth PD does not have primary

regulatory or enforcement responsibility in relating to prescription opiates, pharmacies,

and medical dispensation of such. Responsibility for this is the domain of the DEA Illegal

Diversion division, the FDA, and the State Boards of Medicine, Pharmacy, and Nursing

respectively. Our focus is largely upon illegal street drugs and illegal substances such as

Methamphetamine, Cocaine, Heroin, MOMA/Ecstasy, Fentanyl, and marijuana. If asked

to provide an approximation of what we deal with, I would say that around 95% of our

activity is concerned with such illegal street drugs. Of course, those suspects we

encounter and have cause to arrest sometimes do have in their possession small quantities

(a few pills) of prescription medications that are being misused. In a similar manner, we

sometimes encounter an individual that has a prescription bottle of medication that has




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been pilfered for misuse as well. Again, these occurrences are mostly incidental and do

not represent the great majority of our enforcement-related contacts.

4.      In my nearly 32 years of law enforcement service, I can only personally recall

three instances which involved warrant/arrest service related to pharmacists, pharmacies,

or doctors, and in each of those cases the DEA was the lead agency and our officers were

there only for security and uniformed presence. Since we do not have responsibility for

such regulation or enforcement, we do not generate Suspicious Order Reports, nor do we

use the Automated Reports and Consolidated Ordering System (ARCOS) or participate in

the TX Prescription Monitoring Program as referenced in the subpoena. Accordingly, we

do not compile or have such data and statistics relating to these aspects. Any such

information relating to such illegal diversion of Prescription Opioids or related practices

would be referred to one of the aforementioned agencies for follow-up investigation."

         FURTHER AFFIANT SAYETH NAUGHT.




                                                                          -111
         SUBSCRIBED AND SWORN TO BEFORE ME on the                       /(o      day of August,

2023, to certify which witness my hand and official seal.


             KALA HOWARD
         Notary ID #128512171
         My Commission Expires
                                   I~ WwtViL
                                   Notary Public, State of Texas
           February 28, 2027




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